                          UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE: DENNIS O. JOHNS                                : CHAPTER 13
          Debtor(s)                                   :
                                                      :
         JACK N. ZAHAROPOULOS                         :
         STANDING CHAPTER 13 TRUSTEE                  :
             Movant                                   :
                                                      :
               vs.                                    :
                                                      :
         DENNIS O. JOHNS                              :
            Respondent(s)                             : CASE NO. 5-21-bk-01655


                       TRUSTEE’S OBJECTION TO CHAPTER 13 PLAN

                AND NOW, this 13th day of September, 2021, comes Jack N. Zaharopoulos,
Standing Chapter 13 Trustee, and objects to the confirmation of the above-referenced debtor(s)’
plan for the following reason(s):

               1. Debtor(s)' plan violates 11 U.S.C. §§ 1322(a)(1) and 1325(b) in that the
debtor(s) has not submitted all or such portion of the disposable income to the Trustee as required.
More specifically,

             Trustee alleges and avers that debtor(s)’ disposable income is greater than that
which is committed to the plan based upon the Means Test calculation and specifically disputes the
following amounts:

                     a. Mortgage amount on Line 33a is overstated.

                2. Debtor(s)' plan violates 11 U.S.C. § 1325(a)(4) in that the value of property to
be distributed under the plan on account of each allowed unsecured claim is less than the amount
that would be paid on such claim if the estate were liquidated under Chapter 7. More specifically,
the debtor has excess non-exempt equity in the following:

                     a. Residential real estate
                     b. Checking and savings accounts
                     c. Life estate in Zion Grove Real Property

              3. The Trustee provides notice to the Court as to the ineffectiveness of debtor(s)
Chapter 13 Plan for the following reasons:

                     a. Clarification of vesting of property. Because non-exempt
                        equity exists, the plan should provide for vesting at closing.
                        Accordingly, the plan violates § 1325(a)(4).




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               WHEREFORE, Trustee alleges and avers that debtor(s) plan is nonconfirmable and
therefore Trustee prays that this Honorable Court will:

                    a. Deny confirmation of debtor(s) plan.
                    b. Dismiss or convert debtor(s) case.
                    c. Provide such other relief as is equitable and just.

                                                 Respectfully submitted:



                                                 /s/Jack N. Zaharopoulos
                                                 Standing Chapter 13 Trustee
                                                 8125 Adams Drive, Suite A
                                                 Hummelstown, PA 17036
                                                 (717) 566-6097




                                  CERTIFICATE OF SERVICE

               AND NOW, this 21st day of September, 2021, I hereby certify that I have erved
the within Objection by electronically notifying parties or by depositing a true and correct copy of
the same in the United States Mail at Hummelstown, Pennsylvania, postage prepaid, first class
mail, addressed to the following:

Kevin Tanribilir, Esquire
701 East Front Street
Berwick, PA 18603


                                                 /s/Deborah A. Behney
                                                 Office of Jack N. Zaharopoulos
                                                 Standing Chapter 13 Trustee




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